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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF GEORGIA
                                 COLUMBUS DIVISION


UNITED STATES OF AMERICA                       )
                                               )
       v.                                      )       Case No. 4:22-MJ-_)L-"'5'-'7..___
                                               )
GEORGEIAKOVOU                                  )       Filed under seal
                                               )
                       Defendant.              )



                AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

       I, Joseph Meeks, being first duly sworn, hereby depose and state that the following is true

and correct to the best of my knowledge and belief:


                                        INTRODUCTION

       1.      I am a Special Agent with the United States Secret Service (" Secret Service" or

"USSS") and have been so employed since February 2002. During my tenure with the Secret

Service, I have been assigned to investigate violations of federal laws, including violations of Title

18 of the United States Code, and specifically those related to the passing of counterfeit United

States currency and fraud. I received criminal investigative training at the Federal Law

Enforcement Training Center in Glynco, Georgia, and at the James J. Rowley Secret Service

Training Center in Beltsville, Maryland, pertaining to criminal investigations of counterfeit

currency, bank fraud, money laundering, wire fraud , access device fraud, and identity theft.

       2.      As a Secret Service agent, I am a "federal law enforcement officer" within the

meaning of Federal Rule of Criminal Procedure 41(a)(2)(C), that is, a government agent engaged

in enforcing the criminal laws and duly authorized by the Attorney General to request a search

warrant. During my time as a Special Agent, I have participated in investigations into and received
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training regarding wire fraud, bank fraud, and money laundering schemes. I have participated in

the execution of search warrants of premises, including those involving electronic evidence.

Through my training and experience, I have become familiar with the manner in which people use

technology to commit crimes and the law enforcement techniques that can be used to investigate

and disrupt such activity.

       3.      I am familiar with the facts and circumstances set forth below from my personal

participation in the investigation, from my review of the investigative file and from reports of other

law enforcement officers involved in the investigation, and my training, experience, and advice

received concerning the use of computers in criminal activity and the forensic analysis of

electronically stored information ("ESI"). Unless specifically indicated, all conversations and

statements described in this affidavit are related in sum and substance and in part only. This

affidavit is-intended to show only that there is probable cause for securing a complaint and does

not set forth .all of my knowledge about this matter.

       4.      I am submitting this affidavit in support of a Criminal Complaint for George

Iakovou. As will be shown below, there is probable cause to believe IAKOVOU committed the

crime of Wire Fraud, in violation of Title 18, United States Code, Section 1343 .

                                    APPLICABLE STATUTE

       5.      According to Title 18, United States Code, Section 1343, it is unlawful to devise

any scheme or artifice to defraud, or obtain money or property by means of false or fraudulent

pretenses, representation, or promises, by transmitting or causing to be transmitted by means of

wire in interstate or foreign commerce, any writings, signs, signals, pictures, or sounds for the

purpose of executing such scheme or artifice.

                                       PROBABLE CAUSE


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        6.      On or about, July 8, 2021 , the USSS, Albany Resident Office received a report of

a fraud scheme ("Scheme") involving pre-IPO investments in various early and late-stage

private companies through Vika Ventures, LLC, with a company address of 85 Broad Street,

New York, New York.

        7.      The Scheme entailed Vika Ventures LLC receiving capital from investors for

the purposes of purchasing pre-IPO shares of stock in specific private companies. Once the

private companies went public, and a mandatory six-month lockout period expired, Vika

Ventures LLC .was to deliver the purchased shares to its investors.

        8.     According to its company website, www.Vika-Ventures.com, Vika Ventures LLC

purports to be a premier boutique venture capital firm that specializes in pre-IPO investments

and the private ·equity market. Their primary investment objective is to make venture capital

and growth investments in various early and late-stage private companies. The focus of their

fund is on investing in·pivotal technologies, including digital media, social media, clean tech,

life science industries, and artificial intelligence.

        9.     A public records search of Linkedln revealed that George Iakovou and

Penelope Zbravos represented themselves as the Chief Executive Officer and Finance

Manager, respectively, for Vika Ventures LLC.

        10.    Based on my conversations with victims, my review of electronic communications,

and review of bank records, I am aware that victims wishing to purchase pre-IPO shares through

Vika Ventures received an email from IAKOVOU from "giakovou@vika-ventures.com" that

included documents for them to review, or sign and return.

        11.    In the documents were instructions for them to send their investment funds to the


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following bank account ("INVESTOR ACCOUNT").

                     Bank Name:               JP Morgan Chase Bank

                     ABA#:                    021000021

                     Account Name:            Vika Ventures LLC

                                              85 Broad St., FL 30

                                              New York, NY 10004

                     Account Number:          XXXXX:8288

                     SWIFT/IBAN:              USD CHASUS33


       12.     For example, based on my conversations with a victim ("Victim-I ") and records

provided by Victim-J , I am aware that:

               a.     Victim-I is a resident of Columbus, Muscogee County, Georgia, which

                      'is a place situated in the Middle District of Georgia.

               b.     On November 30, 2020, Victim-I received an email ("Email-I"),

                      purportedly from IAKOVOU, from "giakovou@vika-ventures.com" in

                      regard to Victim-1 's interest in purchasing pre-IPO shares of Airbnb at

                      thirty-five dollars ($35.00) per share. The email included documents for

                      Victim-I to review or sign & return. Included in the documents sent to

                      Victim-I were instructions for Victim-I to send their investment funds to

                      the INVESTOR ACCOUNT

               c.     On December 9, 2020, Victim-I wired thirty-five thousand and 00/100

                      dollars ($35 ,000.00) to the INVESTOR ACCOUNT for one thousand

                      (1,000) shares of Airbnb.

               d.     On December 12, 2020, Victim-I received an email (purportedly from


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                      IAKOVOU) from giakovou@vika-ventures.com with a Buy Confirmation

                      Letter attached that stated, "Your total capital contribution of $35,000.00

                      received on December 9th, 2020, constitutes a 100% membership interest

                      in Series E-8 of the company. Series E-8 currently holds 1000 shares of

                      common stock for Airbnb, through an affiliate of the Company. There have

                      been 0% fees deducted on this transaction and your capital contribution is

                      $35,000.00, which has been applied to an investment in 1000 underlying

                      shares of Airbnb at a purchase price equivalent to $35 per share. The fee

                      breakdown is as follows: 1% expense fee, 2% management fee, 2% due

                      diligence fee.

              e.      Airbnb went public on December 9, 2020, and its six-month lock out

                      period expired on June 9, 2021. VICTIM #1 has not received any shares

                      of Airbnb from Iakovou or others.

              f.      Between on or about December 9, 2019 and March 29, 2021, Victim-I

                      sent six wire transfers to the INVESTOR ACOUNT, totaling

                      approximately two hundred seventy-nine thousand and 00/100 dollars

                      ($279,000.00).

       13.     Over fifty (50) victims have been identified that have provided capital to Vika

Ventures LLC between January 2, 2020, and May 18, 2021 , for investment interests in pre-IPO

shares including, but not limited to, Palantir, Airbnb, Coupang, SpaceX, and Stripe.

                      1.   Palantir went public on September 30, 2020, and the six-month lock

                           out period expired <.m March 31 , 2021.

                     11.   Airbnb went public on December 9, 2020, and the six-month lock out


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                           period expired on June 9, 2021.

                     m.    Coupang went public on March 11 , 2021 , and the six-month lock out

                           period expired on September 11 , 2021.

                     1v.   The financial investment community anticipates Stripe will go public

                           in 2021 , but that SpaceX will wait until 2023 , or later.

         14.   Between January 2, 2020, and May 18, 2021 , victims collectively sent

approximately five million, six hundred thirty-nine thousand, five hundred five and 00/100 dollars

($5 ,639,505.00) to the INVESTOR ACCOUNT.

                      Overview of IAKOVOU's Conduct and Finances


         15.   Based on my participation in this investigation and my review of documents and

records, to include bank; IP address information; my and other law enforcement officers'

conversations with victims; and my training and experience, I am aware that, among other things,

that:

               a.     IAKOVOU is the titled owner of multiple personal bank accounts in his

                      name, as well as has opened businesses accounts to which he is the sole

                      Authorized Signer.    For example, on September 24, 2019, IAKOVOU

                      opened Bank of America Account No. 483068570021 ("BOA Acct.

                      XXXX0021 ").      BOA Acct. XXXX0021 is titled to IAKOVOU and

                      IAKOVOU is the sole authorized signer to the account.

               b.     ZBRAVOS is the titled owner of multiple personal bank accounts in her

                      name, as well as has opened businesses accounts to which she is the sole

                      Authorized Signer.     For example, on December 19, 2019, ZBRAVOS


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                      opened JP Morgan Chase Bank account No. 588608288 in the name ofVika

                      Ventures LLC ("INVESTOR ACCOUNT"). ZBRAVOS is listed as the

                      sole authorized signor to the INVESTOPR ACCOUNT - IAKOVOU was

                      added as a Member to the INVESTOR ACCOUNT on the same date.

              c.      The INVESTOR ACCOUNT's initial deposit was a check ("OPENING

                      CHECK"), drawn on BOA Acct. XXXX0021 , pay to the order of Vika

                      Ventures LLC, for three hundred thousand and 00/ 100 dollars

                      ($300,000.00) and dated December 02, 2019.

              d.      BOA Acct. XXXX:0021 ' s balance on December 02, 2019 was minus two

                      thousand five hundred twenty-four and 00/100 dollars (-$2,524.00). Bank

                      of America force closed the account on December 12, 2019.

              e.      The OPENING CHECK used to open the INVESTOR ACCOUNT was

                      returned on December 20, 2019 because BOA Acct. XXXX:0021 had been

                      closed at the time the OPENING CHECK was negotiated.

              f.      Additionally, IAKOVOU is the titled owner and sole authorized signer of

                      HSBC Checking Account No. 646056301 (ACCOUNT-I) - opened on or

                      about June 20, 2020; HSBC Savings Account No. 646056344 (ACCOUNT-

                      2), - opened on or about June 20, 2020 and HSBC Savings Account No.

                      705049400 (ACCOUNT-3) - opened on or about April 8, 2021

                      (collectively, the "IAKOVOU ACCOUNTS").

       16.    Analysis of select emails that investors received (purportedly from IAKOVOU)

from giakovou@vika-ventures.com which included documents for the investors to review, or sign

and return, revealed that the emails originated from an IP address that was assigned to an account

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in the name of George Iakovou, at the SUBJECT PREMISES.

       17.     A review of bank records revealed IAKOVOU and others routed the investors'

money through a series of bank accounts they controlled; eventually funding their own personal

bank accounts, and brokerage accounts. With the exception of the Named Defendant Properties

listed in the Warrant of Arrest in Rem, issued by the Honorable Clay D. Land, United States

District Court Judge, Middle District of Georgia on September 22, 2021 , incorporated by reference

herein, IAKOVOU and others used all, or most of, these funds for purposes other than the

investments the victims believed they were making, including for their own benefit; as set forth in

the examples below.

       •       For example, on January 28, 2021 victim(s) sent the INVESTOR ACCOUNT

      approximately two million, one hundred thousand and 00/100 dollars ($2,100,000).

       •       Continuing on the same date, the following transactions debited the INVESTOR

      ACCOUNT:

               •       Six hundred ninety thousand and 00/ 100 dollars ($690,000.00) was wired

               to HSBC checking account no. 646056301 ("ACCOUNT-I") - titled to

               IAKOVOU. On the same date, six hundred ninety thousand and 00/100 dollars

               ($690,000.00) was wired from ACCOUNT-I to HSBC savings account no.

               646056344 ("ACCOUNT-2") - also titled to IAKOVOU. Between February 5,

               2021 and March 1, 2021, ACCOUNT-2 was debited six hundred fifty-six thousand

               seventy-seven and 71/100 dollars ($656,077.71), funding the purchases of luxury

               time pieces, the purchase of an automobile, real-estate fees for a luxury residential

               apartment, as well as other personal expenditures.

       18.     Based upon the aforementioned facts, there is probable cause to believe that Vika


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Ventures, LLC, George IAKOVOU and others committed Wire Fraud in violation of Title 18 of

United States Code, Section 1343 . The fraudulent scheme was executed, in part, by emails

originating in New York to destinations in Georgia, which resulted in the transmission of payments

made by wire from financial institutions in Georgia to the INVESTOR ACCOUNT - located in

New York. IAKOVOU and Zbravos were integral participants of the fraud scheme, in that they

represented themselves as officers of Vika-Ventures LLC and led the investors to believe that their

investments would be applied towards the acquisition of pre-IPO shares of private companies. In

fact, IAKOVOU and Zbravos used all, or most of, these funds for purposes other than the

investments the victims believed they were making, including for their own benefit. The funds

used to pay for luxury items, vehicles, and other personal expenditures were obtained by means of

false or fraudulent pretenses.

                                   REQUEST FOR SEALING

       19.     It is respectfully requested that this Court issue an order sealing, until further order

of the Court, all papers submitted in support of this application, including the affidavit and

complaint. I believe that sealing this document is necessary because the items and information to

be seized are relevant to an ongoing investigation into the criminal organizations as not all of the

targets of this investigation will be searched at this time. Based upon my training and experience,

I have learned that online criminals actively search for criminal affidavits and search warrants via

the Internet, and disseminate them to other online criminals as they deem appropriate, i.e., post

them publicly online through the carding forums. Premature disclosure of the contents of this

affidavit and related documents may have a significant and negative impact on the continuing

investigation and may severely jeopardize its effectiveness.



                                                                    Respectfully submitted,

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                                                               s/Joseph Meeks

                                                         Joseph "Andy" Meeks
                                                         Special Agent
                                                         U.S. Secret Service


 Pursuant to Federal Rule of Criminal Procedure 4.1, the contents of the present affidavit
 were telephonically sworn to me on C, <=-T• '2- I                        , 2022.
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 Honorable Stephen yles
 UNITED STATES AGISTRATE JUDGE
